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                                UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

LIZELLE GONZALEZ,                                       §
     Plaintiff                                          §
                                                        §
v.                                                      §   CIVIL ACTION NO: 7:24-CV-00132
                                                        §
GOCHA ALLEN RAMIREZ, et al.,                            §              JURY DEMANDED
    Defendants                                          §

                    PLAINTIFF’S DISCLOSURE OF INTERESTED PARTIES

TO THE HONORABLE JUDGE DREW B. TIPTON:

         COMES NOW, LIZELLE GONZALEZ, Plaintiff herein, and pursuant to the Order for

Conference and Disclosure of Interested Parties entered on April 8, 2024, files this her Disclosure

of Interested Parties and for such would respectfully show unto the Court as follows:

         To the best of Plaintiff’s current knowledge, the following is a list of persons, associations

or persons, firms, partnerships, corporations, affiliates, parent corporations, or other entities that

are or may be financially interested in the outcome of this litigation:

                                                   I.
                                               PLAINTIFF
Lizelle Gonzalez
Plaintiff

Counsel for Plaintiff Lizelle Gonzalez
I. Cecilia Garza                                        Veronica Sepulveda Martinez
State Bar No. 24041627                                  State Bar No. 24081144
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Attorney in charge for Plaintiff




Plaintiff’s Disclosure of Interested Parties                                                     Page 1
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                                                   II.
                                               DEFENDANTS
Gocha Allen Ramirez
(District Attorney for the 229th Judicial District)

Alexandria Barrera
(Asst. District Attorney for the 229th Judicial District)

Rene Fuentes
(Starr County Sheriff)

Starr County, Texas
Defendants

Counsel for Defendants Starr County, District Attorney Ramirez, Assistant District Attorney
Barrera and Sheriff Fuentes

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Plaintiff’s Disclosure of Interested Parties                                              Page 2
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Texas Association of Counties
Risk Management Fund
1210 San Antonio Street
Austin, Texas 78701
Risk Management Services for the
Defendant Starr County, Texas




                                               Respectfully submitted,


                                               By:________________________
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                                        CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of this Disclosure of Interested Parties was

served in accordance with the Federal Rules of Civil Procedure by electronic transmission to all

registered ECF users appearing in the case on June 27, 2024.



                                                       ___________________________
                                                       I. Cecilia Garza




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